Case 2:17-cv-00073-TSK-JPM Document 75 Filed 09/06/18 Page 1 of 9 PageID #: 947




                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 ELKINS DIVISION

  U.S. EQUAL EMPLOYMENT
  OPPORTUNITY COMMISSION,

                 Plaintiff,                            Civil Action No. 2:17-cv-00073

         v.                                            Hon. John Preston Bailey

  BIG LOTS STORES, INC.,

                 Defendant.


     PLAINTIFF EEOC’S RESPONSE TO DEFENDANT BIG LOTS STORES, INC.’S
         MOTION TO STRIKE DECLARATIONS OF CHRISTENA JOHNSON

        Defendant Big Lots Stores, Inc. asks the Court to strike Christena Johnson’s Declarations

 regarding its Motion for Summary Judgment (ECF Nos. 63-3 & 69-3) because, as Defendant

 argues, they “flatly contradict her prior deposition testimony that she is not disabled.” (Mem. ISO

 Mot. to Strike (“MTS”) at 2, ECF No. 73.) Defendant’s argument is untenable. There is no “clear

 and unambiguous,” “flat,” or “inherent” contradiction between Ms. Johnson’s Declarations and

 her prior testimony that would require an explanation—much less exclusion of her Declarations.

 The facts in Ms. Johnson’s summary judgment Declaration were not responsive to Defendant’s

 highly generalized deposition questions, something Defendant implicitly acknowledges in its

 Motion to Strike by its attempt to reframe its own questions post hoc. Indeed, Defendant chose

 not to examine Ms. Johnson concerning various facts in her summary judgment Declaration

 despite having notice from the statute and the record in this case that those subjects would be at

 issue in the litigation. Finally, independent evidence in the record corroborates Ms. Johnson’s

 statements about her hearing and speech impairments, which further demonstrates that her

 Declarations are not a “sham.”
Case 2:17-cv-00073-TSK-JPM Document 75 Filed 09/06/18 Page 2 of 9 PageID #: 948




                                       LEGAL STANDARD

        EEOC discussed the sham-affidavit doctrine and applicable legal standard in its Surreply

 Regarding Big Lots’ Motion for Summary Judgment (“Surreply”). (ECF No. 71 at 1–3.) As stated

 there, a party seeking to strike an affidavit must show a “clear and unambiguous” or “flat”

 contradiction between the affidavit and the affiant’s prior testimony. (Id.) Defendant’s citation to

 cases requiring an “inherent” inconsistency for exclusion (MTS at 5) amounts to the same high

 bar.

        Moreover, courts generally refuse to strike affidavits as shams when there is independent

 evidence in the record to bolster the facts stated therein. Baer v. Chase, 392 F.3d 609, 625–26 (3d

 Cir. 2004); Palazzo ex rel. Delmage v. Corio, 232 F.3d 38, 43–44 (2d Cir. 2000); Delaney v. Deere

 & Co., 219 F.3d 1195, 1196 n.1 (10th Cir. 2000); see also Essex Ins. Co. v. Schooner’s Bar &

 Grill, Inc., No. CV 3:15-15881, 2017 WL 778708, at *5–6 (S.D.W. Va. Feb. 28, 2017) (refusing

 to strike affidavit as a sham upon finding that it “does not prejudice Plaintiff, corresponds with

 independent facts of the case, and does not directly contradict a sworn deposition”). The presence

 of other evidence consistent with the facts in the affidavit alleviates not only the concern that the

 affidavit is a sham, Baer, 392 F.3d at 626; Corio, 232 F.3d at 43–44, but also the concern that the

 affidavit confronts the opposing party with unfair surprise or prejudice, see Essex Ins. Co., No. CV

 3:15-15881, 2017 WL 778708, at *6; Sorin Grp. USA, Inc. v. St. Jude Med., S.C., Inc., 176 F.

 Supp. 3d 814, 835 n.12 (D. Minn. 2016); Apple Glen Inv’rs, L.P. v. Express Scripts, Inc., No. 8:14-

 CV-1527-T-33EAJ, 2015 WL 3721100, at *3 (M.D. Fla. June 15, 2015).




                                                  2
Case 2:17-cv-00073-TSK-JPM Document 75 Filed 09/06/18 Page 3 of 9 PageID #: 949




                                           ARGUMENT

 I.       There is no contradiction between Christena Johnson’s Declarations and her
          deposition testimony about her hearing impairment.

          It is undisputed that during Ms. Johnson’s deposition, Defendant failed to ask her any

 specific questions about the full nature and extent of her hearing ability/inability. Defendant did

 not ask Ms. Johnson to describe how well she hears or in what manner she has difficulty hearing.

 It did not ask her to quantify her hearing loss. It did not ask her about the combined effect of the

 hearing loss in both ears on her ability to hear. And it did not ask her to describe particular

 circumstances that may present her with difficulty in hearing or understanding oral

 communications. In a case in which the aggrieved employee has bilateral deafness—and in which

 the applicable federal statute expressly defines hearing as a stand-alone “major life activity” that

 can establish disability without the need to show any other life activities are affected, 42 U.S.C.

 § 12102(2)(A), (4)(C)—these are obvious lines of inquiry to determine whether Ms. Johnson is

 disabled. But Defendant chose not to pursue such questioning with her.

          Furthermore, given EEOC’s status as the sole Plaintiff in this case, it is EEOC’s

 contentions and lines of proof that are determinative regarding the mixed fact/law question of

 “disability,” not Ms. Johnson’s personal opinion as to how she considers herself disabled.

 Defendant had every opportunity to take such contention discovery from EEOC but opted to not

 do so.

          Rather than asking Ms. Johnson any specific questions about the nature and extent to which

 her ability to hear, in-itself, is affected, or whether she lip-reads and how her hearing would be

 affected in the absence of lip-reading as a mitigating measure, or exploring EEOC’s contentions

 concerning Ms. Johnson’s actual disability, Defendant instead elected to ask Ms. Johnson for her

 lay opinion of how she believes she would be considered legally “disabled” followed by questions



                                                  3
Case 2:17-cv-00073-TSK-JPM Document 75 Filed 09/06/18 Page 4 of 9 PageID #: 950




 about whether her limitations in the major life activity of hearing cause problems with other major

 life activities. The results of such an examination are predictable—the lay witness answers the

 questions as best she can, but ultimately there are facts about her disability that are not elicited

 because (a) those facts were never the subject of specific inquiry, (b) she does not know the legal

 definitions of the terms used in the questions, and (c) she does not know how EEOC applies the

 facts to the controlling legal framework. That outcome is entirely a product of Defendant’s

 approach to discovery, not any evasion or other impropriety by the witness. Perhaps understanding

 the limitations of its own deposition questions, Defendant now mischaracterizes those questions

 in its Motion to Strike, suggesting contradictions where none exist.1

         In fact, the absence of any inherent or unambiguous contradiction between Ms. Johnson’s

 Declaration and her prior deposition testimony is further demonstrated by other portions of her




 1
   For instance, Defendant states that it asked Ms. Johnson “whether the single impairment she identified
 limits her in any way” and that she “unequivocally answered, ‘No.’” (MTS at 5.) Defendant’s statement
 is inaccurate. It did not ask Ms. Johnson whether her right-ear deafness “limits her in any way” but rather
 asked, “Does the—during your employment with Big Lots, did you have any work restrictions or limitations
 as a result of your hearing impairment?” “Has your hearing impairment impacted your performance of any
 other jobs that you’ve held?” and, “Does your hearing impairment impact your—or impose any limitations
 on your life outside of work?” (Johnson Dep. 68:22–24, 69:2–3, 6–7, ECF No. 73-1.) These questions do
 not ask whether her right-ear deafness “limits her in any way,” but rather, they ask about work restrictions,
 work limitations, job performance, and limitations on her activities outside work. Defendant did not ask
 Ms. Johnson whether her right-ear deafness limits her ability to hear in-itself or her speech. Nor did
 Defendant inquire about ameliorative effects of learned behavioral modifications like lip-reading.

          Similarly, Defendant claims that it asked Ms. Johnson “if she had any other disabilities” and that
 she “unequivocally answered, ‘No.’” (MTS at 5.) But Defendant’s claim glosses over key language in its
 question. It did not ask Ms. Johnson “if she had any other disabilities” but rather asked, “Do you have any
 other impairments that you believe constitute a disability other than your right ear?” (Johnson Dep. 68:12–
 14, ECF No. 63-4 (emphasis added).) By its plain language, this is not a question about the objective fact
 of whether Ms. Johnson has “any other disabilities”; this is a question about her subjective beliefs—viz.
 whether she has any other impairments that constitute a disability in her own opinion. There is no
 inconsistency between her personal beliefs about her impairments and the facts in her first Declaration on
 which EEOC is relying to show that she has an actual or perceived disability under the ADA. (See ECF
 No. 63-3 ¶¶ 6–9 (describing hearing and speech impairments and lip-reading, and failing to mention
 disabilities).)


                                                      4
Case 2:17-cv-00073-TSK-JPM Document 75 Filed 09/06/18 Page 5 of 9 PageID #: 951




 deposition that Defendant has omitted from its Motion to Strike, testimony in which Ms. Johnson

 mentioned some aspects of her hearing inability.

         Prior to the six questions and answers cited in Defendant’s Motion, Ms. Johnson testified,

 “It’s hard for me to hear the intercoms and stuff.” (Johnson Dep. 63:15–16, ECF No. 63-4.) She

 later offered more detail about her difficulty hearing in the workplace:

         And then her and Kellie would stand there, and while I’m trying to talk to—when
         you’re deaf, when you’re trying to talk to someone on the phone, you only have the
         one ear. And whenever someone’s in—right behind you, right in your ear, laughing
         at you and you’re trying to hear your customers, that’s pretty hard.

 (Id. at 82:3–9.) Defendant did not ask any follow-up questions about the nature or extent of her

 inability to hear in response to these answers. (See id. at 63, 82.)

         These two portions of Ms. Johnson’s testimony belie Defendant’s assertion that in her first

 Declaration (ECF No. 63-3 ¶ 8) “Johnson contradicted her deposition testimony that she was not

 limited in any way by her impairment by discussing how her deafness affects her ability to hear,

 have conversations, and talk on the telephone . . . .” (MTS at 3.) Contrary to Defendant’s

 assertion, it is clear that Ms. Johnson testified during her deposition about “how her deafness

 affects her ability to hear, have conversations, and talk on the telephone.” EEOC may therefore

 offer a declaration elaborating upon, explaining, or clarifying her prior testimony, and there is no

 contradiction in doing so. Van Asdale v. Int’l Game Tech., 577 F.3d 989, 999 (9th Cir. 2009).

 Defendant cannot ignore this testimony and then claim that statements in her Declaration are

 inherently inconsistent with her deposition testimony. It clearly is not.2 See, e.g., Welch v. All Am.


 2
  In light of the allegations in EEOC’s Complaint and the evidence properly before the Court on Defendant’s
 Motion for Summary Judgment, it bears reminding that whether Ms. Johnson has an actual disability under
 42 U.S.C. § 12102(1)(A) is not dispositive of any of EEOC’s claims. EEOC also alleged that Ms. Johnson
 was subjected to harassment and discrimination because she was regarded as a person with a disability
 under 42 U.S.C. § 12102(1)(C). (Compl. ¶¶ 16, 18, 20, 21, ECF No. 1.) To prove Ms. Johnson was
 regarded as disabled under the 2008 amendments to the ADA, EEOC need only show at trial that Ms.
 Johnson has a non-minor or non-transitory physical impairment and that she was subjected to discrimination


                                                     5
Case 2:17-cv-00073-TSK-JPM Document 75 Filed 09/06/18 Page 6 of 9 PageID #: 952




 Check Cashing, Inc., No. 3:13CV271TSL-JCG, 2014 WL 11514960, at *2 (S.D. Miss. Aug. 12,

 2014) (denying defendant’s motions to strike plaintiff’s affidavits and stating, “Defendant’s

 motions plainly do not proceed from a fair and objective construction of the deposition testimony

 of plaintiff and the subject witnesses. On the contrary, in its motions, defendant has

 mischaracterized testimony, taken testimony out of context and ignored or failed to account for

 other explanatory or clarifying testimony.”).

 II.     There is no contradiction between Christena Johnson’s Declaration and her prior
         deposition testimony because Defendant failed to question her about her speech
         impairment or lip-reading during her deposition.

         Defendant did not question Ms. Johnson about her speech impairment or lip-reading at all

 during her deposition. Given the allegations in EEOC’s Complaint (ECF No. 1 ¶¶ 15, 16, 18) and

 the legal standard applicable to determining whether an impairment substantially limits an

 individual in a major life activity, which requires that the ameliorative effects of learned adaptive

 behaviors like lip-reading be disregarded and the impairment be viewed in its non-ameliorated

 state, 42 U.S.C. § 12102(4)(E)(i), asking Ms. Johnson about her speech impairment and lip-reading

 would have been reasonably apparent lines of questioning, and Defendant’s failure to do so is fatal

 to its Motion to Strike and its Motion for Summary Judgment. There can be no contradiction—

 much less a “clear and unambiguous,” “flat,” or “inherent” contradiction—requiring exclusion of

 the corresponding paragraphs of her first Declaration (ECF No. 63-3 ¶¶ 6, 7, 9) because there is

 no specific prior testimony on these topics that her Declaration could contradict. E.g., Castro v.

 DeVry Univ., Inc., 786 F.3d 559, 571 (7th Cir. 2015) (“Without that question having




 because of that impairment. Defendant does not deny that Ms. Johnson has a physical impairment that is
 non-minor/non-transitory, and as the summary judgment briefing demonstrates, there are plainly genuine
 issues of fact for trial regarding whether she was subjected to discrimination because of that impairment.


                                                     6
Case 2:17-cv-00073-TSK-JPM Document 75 Filed 09/06/18 Page 7 of 9 PageID #: 953




 been asked and answered . . ., his later declaration . . . simply did not contradict any specific

 testimony in his deposition.”).

 III.   The facts in Christena Johnson’s Declaration are not a “sham” but are consistent with
        other evidence in the record of her hearing and speech impairments.

        Thus, there is no contradiction, clear and unambiguous or otherwise, between Ms.

 Johnson’s Declaration and her deposition testimony. But even if there were such a contradiction,

 that would not be the end of the inquiry. In determining whether an affidavit must be disregarded

 as a “sham,” the federal courts often look to whether there is other evidence in the record that is

 consistent with the purportedly contradictory statement in the affidavit, see authorities cited supra

 at 2, which alleviates the concern that new factual material has been recently fabricated to avoid

 summary judgment or that the opposing party has been unfairly surprised. Here, Ms. Johnson’s

 summary judgment Declaration cannot be a last-minute ruse artfully devised to evade an adverse

 summary judgment ruling when independent evidence (available to Defendant long before Ms.

 Johnson’s deposition) corroborates its content.

        In its Surreply, EEOC cited the allegations in its Complaint and multiple witnesses’

 deposition testimony establishing that Ms. Johnson was known to have a speech impairment and

 that Defendant was well aware of that fact prior to Ms. Johnson’s deposition. (ECF No. 71 at 3.)

 That same witness deposition testimony also corroborates a fact that would be obvious to any

 reasonable observer, i.e., that a person with bilateral deafness like Ms. Johnson has limitations in

 her ability to hear. Defendant could have explored those limitations with Ms. Johnson during her

 deposition. It chose to not do that. Defendant could have propounded contention discovery to

 EEOC concerning those limitations or the other factual bases for EEOC’s allegation that Ms.

 Johnson has an actual disability. Defendant chose to not do that either.




                                                   7
Case 2:17-cv-00073-TSK-JPM Document 75 Filed 09/06/18 Page 8 of 9 PageID #: 954




        Even if there were a clear contradiction presented by Ms. Johnson’s Declaration, which

 has not been shown, the balance of the evidence in this case demonstrates that her statements in

 the Declaration have not been fabricated to defeat Defendant’s summary judgment motion. There

 is independent evidence in the record that is consistent with the facts in Ms. Johnson’s Declarations

 about her hearing and speech impairments.

                                          CONCLUSION

        For the reasons stated above, EEOC respectfully requests that the Court deny Defendant

 Big Lots Stores, Inc.’s Motion to Strike Declarations of Christena Johnson.

 Respectfully submitted,

 /s/ Gregory A. Murray                                 William J. Powell
 Gregory A. Murray                                     United States Attorney
 Trial Attorney
 Pa. I.D. No. 316144                                   /s/ Helen Campbell Altmeyer
 EEOC – Pittsburgh Area Office                         Helen Campbell Altmeyer
 William S. Moorhead Federal Building                  Assistant United States Attorney
 1000 Liberty Avenue, Suite 1112                       Civil Division Chief
 Pittsburgh, PA 15222                                  WV Bar #117
 Phone: (412) 395-5844                                 United States Attorney’s Office
 Fax: (412) 395-5749                                   U.S. Courthouse & Federal Building
 gregory.murray@eeoc.gov                               1125 Chapline St., Suite 3000
                                                       Wheeling, WV 26003
 /s/ Ronald L. Phillips________                        Telephone: (304) 234-0100
 Ronald L. Phillips                                    helen.altmeyer@usdoj.gov
 Supervisory Trial Attorney
 Ohio I.D. No. 0070263
 EEOC – Baltimore Field Office
 City Crescent Building, 3d Floor
 10 South Howard Street
 Baltimore, MD 21201
 Phone: 410-209-2737
 Fax: 410-962-4270
 ronald.phillips@eeoc.gov




                                                  8
Case 2:17-cv-00073-TSK-JPM Document 75 Filed 09/06/18 Page 9 of 9 PageID #: 955




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                ELKINS DIVISION

  U.S. EQUAL EMPLOYMENT
  OPPORTUNITY COMMISSION,

                Plaintiff,                           Civil Action No. 2:17-cv-00073

         v.                                          Hon. John Preston Bailey

  BIG LOTS STORES, INC.,

                Defendant.


                                CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that on this 6th day of September 2018, the

 foregoing Plaintiff EEOC’s Response to Defendant Big Lots Stores, Inc.’s Motion to Strike

 Declarations of Christena Johnson was served via the Court’s ECF filing system to:

                                   Mark A. Knueve, Esquire
                                    Daniel J. Clark, Esquire
                                  Cory D. Catignani, Esquire
                             Vorys, Sater, Seymour and Pease, LLP
                                      52 East Gay Street
                                     Columbus, OH 43215

                                    Attorneys for Defendant

                                                    Respectfully Submitted,

                                                    /s/ Helen Campbell Altmeyer
                                                    Helen Campbell Altmeyer
                                                    Assistant United States Attorney
                                                    Civil Division Chief
                                                    WV Bar #117
                                                    United States Attorney’s Office
                                                    U.S. Courthouse & Federal Building
                                                    1125 Chapline St., Suite 3000
                                                    Wheeling, WV 26003
                                                    Telephone: (304) 234-0100
                                                    helen.altmeyer@usdoj.gov



                                                9
